UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


AVI & CO NY CORP,

                                       Plaintiff,                      22 Civ. 10599 (PAE)
                        -v-
                                                                               ORDER
 CHANNELADVISOR CORPORATION,

                                       Defendant.


PAUL A. ENGELMAYER, District Judge:

       On March 2, 2023, defendant filed a motion to transfer venue under 28 U.S.C. § 1404(a),

Dkt. 13, and a memorandum oflaw, Dkt. 16, and declarations, Dkts. 14-15, in support. The

Court orders plaintiff to file a response by March 23, 2023. Defendant's reply, if any, is due

March 29, 2023.


       SO ORDERED.




                                                            United States District Judge
Dated: March 9, 2023
       New York, New York




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